
USCA1 Opinion

	










          October 12, 1993      [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                         
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        No. 93-1059 

                                 ANGEL LUIS FIGUEROA,

                                Plaintiff, Appellant,

                                          v.

                    U.S. DRUG ENFORCEMENT ADMINISTRATION, ET AL.,

                                Defendants, Appellees.


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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
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                                 ____________________

                                        Before

                               Selya, Boudin and Stahl,
                                   Circuit Judges.
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            Angel Luis Figueroa on brief pro se.
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            A.  John  Pappalardo,  United  States  Attorney,  and  Suzanne  E.
            ____________________                                   ___________
        Durrell, Assistant United States Attorney, on Memorandum in Support of
        _______
        Motion for Summary Disposition, for appellees.


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                                   October 12, 1993
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                      Per Curiam.  This  case is an example of  the adage
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            that  haste makes  waste.   Angel Luis  Figueroa ("Figueroa")

            brought  a suit  under  42 U.S.C.     1983 against  the  Drug

            Enforcement  Administration  (DEA)  and  two  of its  special

            agents,  alleging  that the  individual  defendants knowingly

            relied  on false  information  in affidavits  used to  obtain

            forfeitures of  funds belonging to Figueroa.  In granting IFP

            status to  Figueroa, the  district court noted  that although

            the  action was brought pursuant to section 1983, "it must be

            construed  as  a  Bivens-type  action   .  .  .  because  the

            defendants are federal, not  state, agents" (citing to Bivens
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            v. Six Unknown Named Agents, 403 U.S. 388 (1971)).
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                      The government  then  moved  for  judgment  on  the

            pleadings or for summary judgment, urging as its first ground

            for  dismissal that the DEA  agents were not  alleged to have

            acted under state law so that  no claim had been stated.  The

            district  court  allowed  the  motion  for  judgment  on  the

            pleadings, noting in the  margin order that "  1983  does not

            apply to D.E.A. Agents" and  citing precedent to that effect.

            A motion for leave to amend, admittedly not mentioning Bivens
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            but referring  to the jurisdictional statute  for asserting a

            Bivens  claim,  was  denied.    On  appeal  by Figueroa,  the
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            government offers other defenses.

















                      There  is no way to  avoid a remand.   The district

            court may well  have been misled by the  government's motion;

            but having told Figueroa that his claim would be construed as

            a Bivens action, the district court could not then dismiss on
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            the  ground that Figueroa had called it a section 1983 action

            in  the complaint.   If  the district  court wanted  a formal

            amendment, it could  have insisted on  that, but an  outright

            dismissal in this situation without  leave to amend will  not

            wash.

                      The  government  appears  to  be  correct  that the

            action  against the DEA itself  is a suit  against the United

            States, no waiver  of sovereign immunity has  been shown, and

            accordingly  the dismissal as to  it can be  affirmed on that

            ground.  But despite the government's claims to the contrary,

            sovereign immunity  does not appear  to shield the  agents in

            their personal  capacities, see, e.g., Butz  v. Economou, 438
                                        ___  ____  ____     ________

            U.S.  478, 501 (1978)  (Bivens actions  would be  "drained of
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            meaning  if  federal  officials  were  entitled  to  absolute

            immunity for their constitutional  transgressions") (internal

            quotation omitted), nor is  it likely that qualified immunity

            would  do so if the  agents were engaged  in fraud or knowing

            falsehood,  see, e.g.,  Malley v. Briggs,  475 U.S.  335, 341
                        ___  ____   ______    ______

            (1986)  (qualified  immunity  does  not  protect  "those  who

            knowingly violate the law").  Of course, we have no reason to

            think  that they were so  engaged -- Figueroa's complaint and



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            sparse subsequent filings are utterly devoid of detail -- but

            the complaint's  allegations must  be taken as  true for  the

            limited purpose of this appeal.

                      The  government's  remaining alternative  ground is

            res  judicata,  based on  Figueroa's  failure  to pursue  his

            present objections in the forfeiture proceedings.  If we were

            dealing  with clear law and clear facts we would give serious

            attention  to this issue  in order possibly  to avoid further

            proceedings in a busy district court.  But we know relatively

            little  about the  details  of the  forfeiture proceeding  or

            Figueroa's  role in it, and in rem forfeitures are a peculiar

            legal  animal   whose  res  judicata  implications  are  more

            difficult  to  determine  without   a  better  record.    See
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            generally Restatement (Second) of Judgments    22, 30 (1982).
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                      Accordingly, we  affirm the judgment  in dismissing
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            the  complaint against the DEA and vacate the dismissal as to
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            the named  agents in  their individual capacities  and remand
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            the  case against  them  to the  district  court for  further

            proceedings consistent with this opinion.

                      It is so ordered.
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